                                                         Exhibit A to the Complaint
Location: Nashville, TN                                                                                 IP Address: 68.52.220.182
Total Works Infringed: 70                                                                               ISP: Comcast Cable
 Work      Hashes                                                                UTC             Site          Published    Registered   Registration
 1         Info Hash: A23820A92559422D790BCC99C1708B50886C3ECA                          05-22-   Slayed        08-19-2021   09-08-2021   PA0002316102
           File Hash:                                                                     2022
           42E1882AD3F62548A5E107CDD313C27E237CA19BD51EC2AC899E21920CE040B9           23:27:32
 2         Info Hash: 36D7D2363AA7A01420F109E96D7FC015F1B4E08E                          05-10-   Blacked       05-07-2022   05-20-2022   PA0002350371
           File Hash:                                                                     2022
           562AECD0CCA18E2D5132357099EBFC8B5DE945C85F88447EDD99D972AD25C08E           04:11:48
 3         Info Hash: 34FDB74CF0D5A9ED24C4C0A7632D7C5C0DD4A10B                          04-29-   Blacked       09-19-2019   09-25-2019   PA0002203162
           File Hash:                                                                     2022   Raw
           687957B63794780230326924D082C1F054B0ED0FA70D4891292F96B9B488985D           00:52:58
 4         Info Hash: 6783124FC6E099BE624B79A0945650F9A16A9041                          04-22-   Tushy         04-10-2022   04-23-2022   PA0002346425
           File Hash:                                                                     2022
           B58EF02978A8F337FF3E41D58990E92B4D7FBB12FD57DB753B8B6CAE12462AA8           19:15:53
 5         Info Hash: 1817A96BFC00AA9BA2E88E028FE86F90FE1A217C                          02-19-   Blacked       03-26-2019   04-16-2019   PA0002187002
           File Hash:                                                                     2022
           142153D4EDBA5AA8B630A3FB9825BF65DE84BB10EBC00690A2457C3C8AD2D605           07:19:09
 6         Info Hash: D5A9F0F6DDF4EAA496FFC33BB5B5E481E78B2448                          01-07-   Blacked       12-27-2021   01-17-2022   PA0002330095
           File Hash:                                                                     2022   Raw
           BEB5717D97A0E6CBC5AF4715ED670296394174ED91E744D477DE7126543C8F9C           22:22:01
 7         Info Hash: 7093255D01954CE1F92EB2A429C9DE2082C79DFD                          12-21-   Slayed        11-11-2021   12-03-2021   PA0002333373
           File Hash:                                                                     2021
           20E3E1B75A30EC2E9F927352C4C5FF2A5C5571ECED263C8AE545C4F671C887C1           15:22:28
 8         Info Hash: 8B8A4B4C189A35A9AC6F472A339B099AF8355FCE                          12-15-   Tushy         12-12-2021   02-03-2022   PA0002341808
           File Hash:                                                                     2021
           7C50A1AB00DD743DBEFDD4EA46120D07AF3E0CAED24BCBDAD0035E6433E2EAF7           11:53:47
 9         Info Hash: 251E8D606A7427445E18E057F6DC99C4133A9A64                          11-08-   Slayed        10-21-2021   11-01-2021   PA0002326406
           File Hash:                                                                     2021
           A4FB79A6CF02CD69F34BAADE35AA1E40D64B73312AAFEFE0C83EF0AECCD8EF81           06:11:01
 10        Info Hash: A80F2C659EE992FB7AB31875989C7B1F3132E7A3                          09-16-   Blacked       09-14-2020   09-29-2020   PA0002258688
           File Hash:                                                                     2021   Raw
           1CF22DC06E2DA5B476B8C347093F634D437E4F831B6F39CEC4547293A8426B98           04:48:22
 11        Info Hash: 74E070565386C10CB521376AFA332D57AE57DE3E                          09-12-   Blacked       12-01-2018   01-22-2019   PA0002149844
           File Hash:                                                                     2021
           C305F03E47FEC04143A5E7395AA36AFD25D181AF5702910585C5544873377C4A           13:54:58
                               Case 3:22-cv-00436 Document 1-1 Filed 06/10/22 Page 1 of 6 PageID #: 11
Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: E0F1BC7E785756A97F01B8CF4597A6728B835F9B                   08-30-   Tushy     10-28-2018   12-10-2018   PA0002145831
       File Hash:                                                              2021
       98CC1F8D4C7B7FE25CFDFB6C06141B45EB696DB0FEAB6E9BC569313AF8AAEF58    04:31:31
13     Info Hash: 81F4AC17DA840F9822A99447A1E54117266A22D2                   08-08-   Blacked   02-06-2020   02-20-2020   PA0002229053
       File Hash:                                                              2021   Raw
       4826968A2CACE397D1A709A33016AC5BA0D8C42F165F696DB3B3A81793907C7A    23:55:40
14     Info Hash: 608D15AEEE65BE7098194D18669B579ED6929B16                   08-02-   Blacked   03-18-2018   04-17-2018   PA0002116068
       File Hash:                                                              2021   Raw
       7A68D46393B457B901668EAB77E0DBA91E48596A544EC34BE01B4C8EF0258F50    06:07:51
15     Info Hash: C4D16653EB85F61AB6AA72529A3722E11BEE25AA                   08-02-   Blacked   11-21-2018   01-22-2019   PA0002149833
       File Hash:                                                              2021
       DEF2B2590FC1BAB5DA43F583C23A9DAB2C562A5D5FABDA166E4893A940942E5B    05:03:20
16     Info Hash: 6C9128E9323CFBFBE3CF64DF2C80BCC1FF7F8B60                   08-02-   Vixen     03-20-2019   04-17-2019   PA0002186982
       File Hash:                                                              2021
       DA22C2CEC13DB6B24D7DAF7BA4C16E5DBB9A53844ABCE74EB66625384B906DEC    04:57:44
17     Info Hash: 79801902E9A0FEFE34380623442048AC4E5A331A                   07-26-   Tushy     07-25-2021   08-20-2021   PA0002312005
       File Hash:                                                              2021
       B8CAE93F4A58262496E7E9510798C34B60F40D120DDEF322365CB6BD02331780    02:39:09
18     Info Hash: D28DB73522EC886FE3C7FF121F08DA1296C83B70                   06-29-   Blacked   06-28-2021   07-08-2021   PA0002300664
       File Hash:                                                              2021   Raw
       296984FF61F9590FBD6049CF61271D6BFAE9D17CD3D76DAA5B4CAFD611B822C4    14:30:36
19     Info Hash: 607AE553EDA9AD70DF8CFB27FB9C50FE31C2D14C                   06-22-   Tushy     07-20-2017   08-11-2017   PA0002046869
       File Hash:                                                              2021
       2A23C783A2444263A9B3D2DE47C0C29F7629F4990F97EC0C38904A0704BF683E    01:06:19
20     Info Hash: F0EE256BC82C7E2E9BAF1ECBD18DB22A68B0A220                   06-21-   Blacked   05-31-2021   06-15-2021   PA0002296925
       File Hash:                                                              2021   Raw
       10CCD605D82CD6FF7FC963B49F75FA83929738624BCE44AAE3254E8635B965AB    04:16:31
21     Info Hash: 99B0ABFC3ECA7196B2056ECF758E4DCA6BF95E7D                   06-15-   Tushy     01-11-2018   01-24-2018   PA0002101766
       File Hash:                                                              2021
       967F31132D7142EF255E82DF10CEE7BD68D9A098D67D3F27B1BF0BF6EFEE358D    03:15:44
22     Info Hash: EF02E032A4C38B4CAF483E27B65FCB9C0889B4CF                   06-08-   Vixen     05-01-2020   05-19-2020   PA0002241473
       File Hash:                                                              2021
       986B4B9E3ED7827CB0B3D299302798E5BB076CEA5FF864B7D6FA7DE163B55098    03:35:07
23     Info Hash: 4D8587046DBDB1EAA8987C0AEDE8C8E2D33D5201                   06-08-   Blacked   05-17-2021   06-03-2021   PA0002299687
       File Hash:                                                              2021   Raw
       0FB9892C2F76FF3FBDD59906A779FD46CB167799C6056A0406EA24379398714F    01:20:01

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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 294DDCEBFD93AA7E18B5CCC90F48DC52718D1B79                   06-08-   Blacked   06-07-2021   06-15-2021   PA0002296926
       File Hash:                                                              2021   Raw
       FD6A9D3183365AC95017C622CEEDE7C51872C6FDA57F35D63F6C2ECC7254D62C    00:43:13
25     Info Hash: 32E09D6A5978F499397CCFFAB8C889951CF3BF94                   05-18-   Blacked   05-01-2021   06-09-2021   PA0002295604
       File Hash:                                                              2021
       EADF62816A0B33E9DCC505156847A93771275B747B14A6DBC5154D2ED41A2C04    23:39:44
26     Info Hash: D9D453CA10A11F235D92278E4484BBE5A2B5A9F1                   05-10-   Blacked   06-26-2018   08-07-2018   PA0002131867
       File Hash:                                                              2021   Raw
       E5EAF731B958DF01B63E05FEB6F936C4B98032B1377C42E41EA24F47D29AEFCE    04:13:47
27     Info Hash: 143ED56E751B662F727B52D79C441FBCC16BB177                   05-05-   Blacked   12-20-2018   02-02-2019   PA0002154970
       File Hash:                                                              2021
       6E468AF507E2B8CA74CF0E8AB4CC91C10A7F4D5FFA43B66EE393ED88FB48F9FD    11:01:04
28     Info Hash: 7AD634DDF39D6C357029F9B8DA853344A9154CA3                   05-03-   Blacked   01-23-2021   02-09-2021   PA0002276146
       File Hash:                                                              2021
       ABD1CF9BE94C07E7BA99AD39BA2A1F827B3E71F1677F7CFC5C5731EEFFC66D57    20:58:58
29     Info Hash: 6C0E1FB88038092CAB0AE05234C54A15CF40E0A1                   04-26-   Blacked   02-22-2021   03-08-2021   PA0002280371
       File Hash:                                                              2021   Raw
       94D17E7894AD3715882A76F5B0396AAD161FA372C0D1A2DFB0BEDFD6E57951A1    22:03:46
30     Info Hash: 6C446C346678513AA2E73F07FB90B7112EBE707F                   04-20-   Blacked   08-15-2019   09-17-2019   PA0002216211
       File Hash:                                                              2021   Raw
       249303FB0D18D0DC7C7EC04ADB7B8922578C4F9AF6A8CF6EE5DAE94EA3BFAD93    04:48:37
31     Info Hash: AC484C72916F84D64A7F9C826DC219672AA1BAAE                   04-13-   Vixen     04-09-2021   06-03-2021   PA0002299683
       File Hash:                                                              2021
       3E7536E95D4992AFA466362597D98989E435C1D7CA5B4277B3BC455B95D59631    03:25:02
32     Info Hash: 21A94CBFC4DB145F8AADD63BD1FE1B92838C9B33                   04-05-   Vixen     02-08-2018   03-01-2018   PA0002079183
       File Hash:                                                              2021
       FA965806672E8B496C8A1A0695E6E4138E4ECED9C2CA2A2176F616191C0E2914    09:35:33
33     Info Hash: 75EACE9CA719288B52B64D4D05A349BAA09542B2                   04-01-   Blacked   03-29-2021   04-14-2021   PA0002286726
       File Hash:                                                              2021   Raw
       8789678992DCF14336251C54773CBD716197010477909F5BD6930C47A9F234E8    03:37:14
34     Info Hash: A985E7AC9C0F50A326C777C6E8DAC1A92A268746                   03-27-   Blacked   03-22-2021   04-14-2021   PA0002286722
       File Hash:                                                              2021   Raw
       F2E40788FEA4B9AE0E54288F770BB334B94EF717C56D9ADFCE5BF5D67D87F891    18:28:46
35     Info Hash: 1F3C71A8C75CE5A96C4CDFC55B75C9DBFE80BA96                   03-27-   Vixen     10-26-2018   12-10-2018   PA0002145824
       File Hash:                                                              2021
       52865408104AC768530DEA3C59663B162044009E55011D199911AD3138B2005F    18:27:56

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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
36     Info Hash: 2F73A144B780B7D386C021B9DFCA2C674931DEE8                   03-23-   Blacked   03-21-2018   04-12-2018   PA0002091520
       File Hash:                                                              2021
       F85AE75227D8B66E7A0DEAC0477536890D8F9ECE99E4FA681CC88AAEC3688FDF    02:21:10
37     Info Hash: 1824034C43267AA11198E469DBB79B913395F5FE                   03-22-   Blacked   03-15-2021   03-22-2021   PA0002282515
       File Hash:                                                              2021   Raw
       76ACEB0964E0FBDF7535C99F405DC85A8F13DF4C35810F11890C0E5815A50F07    06:26:22
38     Info Hash: 23F3281238E8C2B9F46A06DE03A1DD56C2FE4183                   03-22-   Blacked   01-25-2021   02-09-2021   PA0002276145
       File Hash:                                                              2021   Raw
       F183EF0FD677D5E3B3A74E652AA19DA5A9D35A6F741282153C37E44C88A3A62C    06:21:15
39     Info Hash: 7BCAF3207D7ADED3194F9AD8EA8BA3A9B147F568                   03-22-   Blacked   12-28-2020   01-05-2021   PA0002269956
       File Hash:                                                              2021   Raw
       8E557F72C44AAC0DFA29657A6636DE991F5E4DF30137A26C7DD96D6B64F21E2D    06:20:56
40     Info Hash: F15A3D34FF0FD051292EC25A6DBB3F574863F6E2                   03-22-   Blacked   04-17-2018   05-23-2018   PA0002101308
       File Hash:                                                              2021   Raw
       4D5131F83A161A61BCC759E3AA7729C7BF9F99527E0D0FA59AD26AD5A61316B7    06:20:50
41     Info Hash: 88F141141A30BFF7CE73552E3E170D8D0E470CBF                   03-14-   Blacked   10-04-2018   10-16-2018   PA0002127787
       File Hash:                                                              2021   Raw
       6CFB005BCB1E24E00A4576CEAF6D98313DD3547CA42A84CDB271025F6B1349CE    14:56:14
42     Info Hash: 2BEB1E31F5F9023367AE9DF89B83D7C7F47589B6                   03-10-   Blacked   04-02-2018   04-17-2018   PA0002116078
       File Hash:                                                              2021   Raw
       6A152C37499E36D0D3C04E8D3F39C3773BC55819302F5C3C46403B93831A69AE    05:23:39
43     Info Hash: 8ACEAF6E063E20FA8AD60011A276B2DBD6C48825                   02-21-   Blacked   02-15-2021   03-08-2021   PA0002280367
       File Hash:                                                              2021   Raw
       2E1AFE54A00CA51231905F46DB377AB5DC9912A59804A27F71D87D48877B6901    07:56:13
44     Info Hash: 4762B207E12798B5BA2DDD00B902201C9FD4EA23                   02-09-   Blacked   02-08-2021   03-08-2021   PA0002280363
       File Hash:                                                              2021   Raw
       A0077A2CCDB176BC6A42D6A5511A8948BCA5D56EE3E1A5D3707EF868FEAAC87B    06:30:17
45     Info Hash: BE1C986C39E269B6A3CE6F2E34AC0990906C8922                   02-09-   Tushy     07-05-2017   07-06-2017   PA0002041555
       File Hash:                                                              2021
       7AF923F3CB9AFC2B76BA6EF76711635F50CE06ACA09B816B8DA8A4E034884067    06:29:39
46     Info Hash: CBEC46459AE533CA84B9B04B6112A56ECA06279B                   02-08-   Blacked   01-18-2021   02-09-2021   PA0002276148
       File Hash:                                                              2021   Raw
       230D3F95B666FD506C2CD0E1859CAD4F2BDE3DFF5C8BB975B0C1F971338FBB5D    06:36:03
47     Info Hash: D90661C4EAF703AD571420CB0E7B68DA96A83C8F                   02-08-   Blacked   01-04-2021   02-02-2021   PA0002280514
       File Hash:                                                              2021   Raw
       EC6D90A123469F683033BF6383B5F9752EA070551E408220A225B6352EE6E9B6    06:33:29

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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
48     Info Hash: E7DB8067AEC3C8610C83397448CC7D3B64ED7BF2                   01-03-   Tushy     12-27-2020   01-05-2021   PA0002269957
       File Hash:                                                              2021
       E762103A09E0B8DE7410D9FBFE11319EF739060543C8E6A53DA08414173DE8B9    07:25:13
49     Info Hash: 09BEFF88BFA6C03790189DB6616808DDF8A8A751                   12-01-   Blacked   11-30-2020   01-04-2021   PA0002277037
       File Hash:                                                              2020   Raw
       DD3B798C8D8E9900AA8661B5435EABDAAD9A2D99BC4CA139153417B954AF5BCB    05:46:47
50     Info Hash: AE239D62AECAF3E11B72744CA93C44F09BAECD9C                   11-29-   Blacked   02-11-2018   03-02-2018   PA0002104740
       File Hash:                                                              2020   Raw
       6B4C4CD4D964230FA2015B2EC284EBE46D07C20601BAA85EACA54D4B3B52BEA3    12:10:01
51     Info Hash: 0279F8114C90ECBC2C775793D7CD9105ED963856                   11-29-   Blacked   01-15-2018   01-24-2018   PA0002101768
       File Hash:                                                              2020
       3DC45DDEEAF39622E73B28F7587BD6A4688887D83FC0D647EE20E12252B634AB    12:09:52
52     Info Hash: 9A235A3B173EBC1924784B571FA2EE9C3E96B4CF                   11-22-   Blacked   11-21-2020   11-30-2020   PA0002266354
       File Hash:                                                              2020
       44FFB5B48EEC7B77914F5565089A5C9650E0698BE8DF1E4EE2D3E885B18B6764    06:22:19
53     Info Hash: 147E2214474BE545770CB1C302AF2A96F5DF3FD9                   11-21-   Vixen     11-20-2020   11-30-2020   PA0002266357
       File Hash:                                                              2020
       7F1A1A9E65AD9F466AF46144FBCDFAABE27C64AC49136D7E98910C70177D28E0    05:33:08
54     Info Hash: C3DCE42271F3BF918031078B7B54C41128B08F5E                   11-16-   Vixen     11-13-2020   12-09-2020   PA0002274953
       File Hash:                                                              2020
       9D72D01EE26B3C0EC95B114A9B108307FBD642580E7A63675C451D9AD7D4F719    07:03:00
55     Info Hash: 6E092D7A3453A1D45B1439231F12D419573100A7                   11-16-   Blacked   07-06-2020   07-20-2020   PA0002248962
       File Hash:                                                              2020   Raw
       D8BF82073E2B68DD94CE8EB6D1D86B84A373A3C3A9FD4A6154CF46360F2A4686    05:26:20
56     Info Hash: D95DD9DDE1D56D2652DF56DDD308A8F222104588                   11-10-   Tushy     11-08-2020   12-09-2020   PA0002274932
       File Hash:                                                              2020
       9419A3ACB5DAD22CA7B78BB4590AED121B6A4B27D5B5F8012EBB0CC61B065CFF    03:51:14
57     Info Hash: F445823EE2BB5E4BF4886EB8490DF47ACC438C4E                   10-23-   Tushy     05-31-2018   07-14-2018   PA0002131771
       File Hash:                                                              2020
       22227D1C627D8CA3F7FA22811CBBBA6684771E7EC3663464BE82D1F688B65A95    22:37:55
58     Info Hash: FAB95948D114974766DDC47AA478DF62DAC33472                   10-01-   Tushy     03-02-2019   04-17-2019   PA0002186902
       File Hash:                                                              2020
       940EB6CC9D7791158BDF729313A2C0AC41D3282D86C6CB8E1EA173DD4CCECB44    04:52:13
59     Info Hash: 5B688164813D5322EE27359355CBF7233F9C15A2                   09-29-   Blacked   09-28-2020   10-22-2020   PA0002261800
       File Hash:                                                              2020   Raw
       6D4F689F0D70E1DB29AF47F577AFEFA19C6260A7E08B4D5E75414BD3EF8A16B9    02:21:13

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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
60     Info Hash: F7584EAD8BB810CD75BB8B1AC568E48EE5CC21A0                   09-09-   Blacked   12-18-2018   02-02-2019   PA0002155391
       File Hash:                                                              2020   Raw
       B520ACEA749A3A476BF843A6477E83EEEF03C2FB032653664139EBF800AD87A1    05:17:14
61     Info Hash: 60680CCDA2AD63F08280BD02A7DBD89230FE8894                   09-03-   Tushy     08-30-2020   09-05-2020   PA0002255477
       File Hash:                                                              2020
       91ACB224E8B4E55F5418F710D0BF9F358F63FA477BFE2D0254B85A7FFB865DA3    04:34:15
62     Info Hash: 9D0DD6ED44118B4E55D80196591F7AC42E295976                   09-01-   Vixen     07-03-2020   07-16-2020   PA0002248578
       File Hash:                                                              2020
       738DDC3A312718766B64BDB17DD2846B5E1715AFBA943EA819CCE5A2066B4BF7    04:55:18
63     Info Hash: 44879CA5156C6B94FAB93A6D4FD160ABB8689D82                   08-30-   Blacked   08-24-2020   09-05-2020   PA0002255474
       File Hash:                                                              2020   Raw
       8813814E8DF5A47074C41B0A60494F957BB41B4C3FE7226DA5AE46719DE78A69    04:36:36
64     Info Hash: 057D52E3AC118C1882812B3A5E3F2C3EA982FE8B                   08-26-   Blacked   08-22-2020   09-05-2020   PA0002255479
       File Hash:                                                              2020
       E8946DBE3E8A1E96194DDFF7F571C449F50845EB4C17CDC4866603F9AAD04350    05:55:22
65     Info Hash: 31ABA0B21D81BC8ED066320EE2A56C75B5C91877                   06-22-   Vixen     05-29-2020   06-16-2020   PA0002253260
       File Hash:                                                              2020
       5AA78724398529E64D86597C0DDFDC8109760EC4D253C8A36CFF17AE3C768950    21:39:36
66     Info Hash: 44BBE94637EA1DEE53456986B8D560425E976D22                   05-31-   Blacked   12-08-2017   01-02-2018   PA0002097423
       File Hash:                                                              2020   Raw
       43F06F7C71516F572AE3CCC92ED6426EAD192A8ACA0A408ED2F6D90FC05E53BD    22:42:35
67     Info Hash: 47365B31B7686F2653AA3BD794798E981E8EF0E1                   05-28-   Vixen     05-22-2020   06-22-2020   PA0002245640
       File Hash:                                                              2020
       400282296C0B501AB8384682184510E5D0C4055777FCA56052F41ED538F3FA6D    22:35:59
68     Info Hash: DBAA02153CB1ACE3D2D3133FD8A00C6766453DA5                   04-28-   Blacked   01-02-2018   01-26-2018   PA0002101761
       File Hash:                                                              2020   Raw
       8F50BCF41DEEA9CB475E77E05BFE90341DA3F03214D1506CC7B08009A850E053    23:10:59
69     Info Hash: 73098F3107FBE8E4AE1441F54DB3A42BC0D2E71E                   04-28-   Blacked   02-06-2018   02-20-2018   PA0002104186
       File Hash:                                                              2020   Raw
       C88CE55D4CA442C9F66D7DA0732C0FCBEECEEBB72667F2A8722F0DE553A7990D    23:09:44
70     Info Hash: EFA937808F0ED58A57B5B7902F86CC46FFEF4A88                   04-18-   Blacked   03-10-2020   04-15-2020   PA0002246103
       File Hash:                                                              2020
       B1ACA1BB3FF18B56DD4E28B45C13CEF7155C393C134B08F2317639FEF5A59520    16:00:57




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